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ORDERED in the Southem District of Florida on_DEC 2.0. 2010.

Erik P. Kimball, Judge
United States Bankruptcy Court

       

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

In re: CASE NO. :08-15917-BKC-EPK
PHOENIX DIVERSIFIED INVESTMENT CHAPTER 7
CORP
Debtor(s).
/

 

KENNETH WELT, Trustee
ADV. NO. :10-3047-BKC-EPK-A

Plaintiff(s),

RYAN GUTZEIT,

Defendant(s).

 

ORDER DISMISSING ADVERSARY PROCEEDING AS SETTLED

THIS MATTER came before the Court on upon the Trustee’s Motion for Approval
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of Compromise and Settlement with Ryan Gutzeit [DE-830] filed September 16, 2010
and the Order Granting Trustee’s Motion (DE-895] entered October 14, 2010 in the
main bankruptcy case. Therefore, with the Court being otherwise fully advised
in the premises and for reasons stated on the record, it is hereby:

ORDERED AND ADJUDGED that:

1. The above~referenced Adversary Proceeding is DISMISSED AS SETTLED.

2. The Court retains jurisdiction for the sole purpose of enforcing the
agreement of the parties.

HHH

Copies Furnished To:
Richard Lubliner, Esq.

Aty Richard Lubliner is directed to serve a copy of this order on all
interested parties and file certificate of service with the Court.
